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                    UNITED STATES DISTRICT COURT                        BYus~              ·o-EPCLK
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                            NO.   5·- 2id-Cf2-302--Eo

UNITED STATES OF AMERICA                 )
                                         )
             V.                          )    CRIMINAL INFORMATION
                                         )
DAVID C. BOHMERWALD                      )
                                         )


The United States Attorney charges that:


                                  INTRODUCTION

      1.     The Export Control Reform Act ("ECRA"), 50 U.S.C. § 4801 et seq.,

provides, among other things, that the national security and foreign policy of the

United States require that the export, reexport, and in-country transfer of items be

controlled and grants the President the authority to control such activities. ECRA

further grants to the Secretary of Commerce the authority to establish the applicable

regulatory framework.

      2.     Pursuant to ECRA, the Department of Commerce reviews and controls

the export of certain items from the United States to foreign destinations through the

Export Administration Regulations ("EAR"), 15 C.F .R. Parts 730- 77 4. In particular,

the EAR restrict the export of items that could make a significant contribution to the

military potential of other nations or that could be detrimental to the foreign policy

or national security of the United States. The EAR impose licensing and other




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requirements for items subject to the EAR to be exported lawfully from the United

States or reexported from one foreign destination to another.

      3.      Pursuant to the EAR, the Department of Commerce may impose

licensing requirements for specific exports, reexports, or in-country transfers of any

item upon determining an unacceptable risk of use in or diversion to a military end

use in China, among other foreign destinations. Id. § 744.21(b).

      4.      An accelerometer is an electronic device that measures the vibration,

tilt, and acceleration of motion of a structure. Accelerometers are used in industrial,

aerospace, and military systems. In aerospace and military applications, they play a

critical role in structural testing and monitoring, impact survival tests, flight control

systems, weapons and craft navigation systems, active vibration dampening,

stabilization, and other systems.

      5.      U.S . Company 1 was a United States-based company that, among other

things, manufactured and sold a specific model industrial-grade surface mount micro-

electromechanical systems ("MEMS") DC accelerometer (hereinafter "U.S. Company

1 accelerometer(s)").

      6.      In June 2019, pursuant to 15 C.F.R. § 744.21, the Department of

Commerce determined that the export of U.S. Company 1 accelerometers to Hong

Kong and China posed an unacceptable risk of use in, or diversion to, military end

use activities in China and, therefore, required a license to export to Hong Kong and

China.


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                                  THE CHARGE

      6.    On or about August 16, 2023, in the Eastern District of North Carolina,

DAVID C. BOHMERWALD, the defendant, did knowingly and willfully export and

cause to be exported, or attempt to export, U.S. Company 1 accelerometers from the

United States to China without first having obtained the required authorization or

license from the Department of Commerce, in violation of Title 50 United States Code

Section 4819 and Title 15 Code of Federal Regulations Sections 744.21(b) and 764.2.




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                                     FORFEITURE NOTICE

      7.       The allegations contained in Count One are incorporated by reference

for the purpose of alleging forfeiture pursuant to 50 United States Code§ 4819(d)(l).

      8.       Upon conviction of a violation of Title 50, United States Code, Sections

4819(a)(l), 48 19(a)(2)(A)-(G), and 4819(b), the defendant sh all forfeit to the United

States, pursuant to 50 United States Code § 4819(d)( l ), any property, (A) u se d or

intended to be used, in any manner, to commit or facilitate the violation; (B)

constituting or traceable to the gross proceeds taken, obtained, or retained, m

connection with or as a result of the violation; or (C) constituting an item or

technology that is exported or intended to be exporte d in the violation.

      9.       The property to be forfeited includes, but is not limited to, an order of

forfeiture for at least $28,500.00, which repre sents the proceeds the defendant

personally obtained from the offense.

      10.      If any of the property described above, as a result of any act or omission

of the defendant:

            a. cannot be located upon the exercise of due diligence;

            b. has been transferred or sold to, or deposited with, a third party;

            c. has been placed beyond the jurisdiction of the Court;

            d. has been substantially diminished in value; or

            e. h as been commingled with other property which cannot be divided

               without difficulty,


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the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by ·28 U.$.C. § 2461(c).



MICHAEL F. EASLEY, JR.                              JENNIFER K. GELLIE
United States Attorney                              Executive Deputy Chief,
                                                    Counterintelligence and Export Control
                                                    Section, National Security Division


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Assistant United States Attorney
                                                    Brendan P. Geari
                                                    Trial Attorney
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